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                                                       United States District Court
                                                       Central District of California
                                                                                                                                     JS-3

 UNITED STATES OF AMERICA vs.                                             Docket No.            CR 14-472-PSG

 Defendant     Elad Gaber                                                 Social Security No. _ _ _            _None
       BALDAUF,Chance; BAY,Miranda; BAYLOS,
       Miranda; BIRD,Ethan; CLINT, David;
       DAVENPORT,Erin; FRIDMAN,Shay;
                                                                         (Last 4 digits)
       HANZMAN,Shay; HOLLIS,Rach; HUNT,Ethan
       LANDER,Ethan; LOMAN,Chance; NOGUIERA,
 akas: Amane; VIDAL, JaJc




                                                                                                               MONTH   DAY    YEAR
           In the presence ofthe attorney for the government, the defendant appeared in person on this date.   10        08   2021


 COUNSEL                                                           Retained Mark Werksman
                                                                         (Name of Counsel)

    PLEA            ~X GUILTY,and the court being satisfied that there is a factual basis for the plea. ~      NOLO    ~  NOT
                                                                                                            CONTENDERS   GUILTY
  FINDING           There being afinding/verdict of GUILTY,defendant has been convicted as charged ofthe offenses) of:

                    Use of a Facility ofInterstate Commerce to Induce a Minor to Engage in Criminal Sexual Activity, in violation of
                    Title 18 U.S.C. § 2422(b), as charged in Count 10 of the Indictment.

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown,or appeazed to the Court,the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau ofPrisons to be imprisoned for a term o£ 36O IIlOI1tI1S Ol' 3O years.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period ofimprisonment, at the rate ofnot less than $25
per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

The special assessment pursuant to Justice for Victims of Trafficking Act of 2015 is waived as the defendant is
found to be indigent.

Pursuant to Title 18 U.S.C. § 3664(d)(5), a final determination ofthe victim's losses will be ordered at a deferred
restitution hearing after such information becomes available. An amended judgment will be entered after such
determination.

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution
remains unpaid after release from custody,nominal monthly payments ofat least 10% ofdefendant's gross monthly
income but not less than $25, whichever is greater, shall be made during the period ofsupervised release and shall
begin 90 days after the commencement ofsupervision. Nominal restitution payments are ordered as the Courtfinds
that the defendant's economic circumstances do not allow for either immediate or future payment of the amount
ordered.
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If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless
another priority order or percentage payment is specified in the judgment.

Pursuant to Title 18 U.S.C. § 3612(~(3)(A), interest on the restitution ordered is waived because the defendant
does not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant
to Title 18 U.S.C. § 3612(g).

The defendant shall comply with Second Amended General Order No. 20-04.

Pursuant to Guideline §SE1.2(a), all fines are waived as the Court finds that the defendant has established that he
is unable to pay and is not likely to become able to pay any fine.

The Court recommends that the Bureau ofPrisons conduct a mental health evaluation ofthe defendant and provide
all necessary treatment.

Upon release from imprisonment,the defendant shall be placed on supervised release for a term oflife under the
following terms and conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation &Pretrial
         Services Office and Second Amended General Order 20-04, including the conditions of probation and
         supervised release set forth in Section III of Second Amended General Order 20-04.

2.       The defendant shall not commit any violation of local, state, or federal law or ordinance.

3.       During the period ofcommunity supervision,the defendant shall pay the special assessment and restitution
         in accordance with this judgment's orders pertaining to such payment.

4.      The defendant shall comply with the immigration rules and regulations ofthe United States,and if deported
        from this country,either voluntarily or involuntarily, not reenter the United States illegally. The defendant
        is not required to report to the Probation &Pretrial Services Office while residing outside of the United
        States; however,within 72 hours ofrelease from any custody or any reentry to the United States during the
        period of Court-ordered supervision, the defendant shall report for instructions to the United States
        Probation Office located at: the 300 N. Los Angeles Street, Suite 1300, Los Angeles, CA 90012-3323.

5.      The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate,
        passport or any other form of identification in any name, other than the defendant's true legal name, nor
        shall the defendant use, any name other than the defendant's true legal name without the prior written
        approval ofthe Probation Officer.

6.      The defendant shall cooperate in the collection of a DNA sample from the defendant.

7.      The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
        judgments and any other financial gains to the Court-ordered financial obligation.


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8.       The defendant shall participate in mental health treatment, which may include evaluation and counseling,
         until discharged from the program by the treatment provider, with the approval of the Probation Officer.

9.       As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
         treatment to the aftercare contractors during the period of community supervision. The defendant shall
         provide payment and proofofpayment as directed by the Probation Officer. Ifthe defendant has no ability
         to pay, no payment shall be required.

10.      Within three(3)days of release from prison, the defendant shall register as a sex offender, and keep the
         registration current,in eachjurisdiction where the defendant resides,is employed and is a student,pursuant
         to the registration procedures that have been established in each jurisdiction. When registering for the first
         time,the defendant shall also register in the jurisdiction in which the conviction occurred if different from
         the defendant'sjurisdiction ofresidence. The defendant shall provide proofofregistration to the Probation
         Officer within 48 hours of registration.

1 1.     The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender
         treatment program, or any combination thereof, which may include inpatient treatment upon order ofthe
         Court, as approved and directed by the Probation Officer. The defendant shall abide by all rules,
         requirements, and conditions of such program, including submission to risk assessment evaluations and
         physiological testing,such as polygraph and Abel testing. The defendant retains the rightto invoke the Fifth
         Amendment.

12.      As directed by the Probation Officer, the defendant shall pay all or part of the costs of psychological
         counseling or psychiatric treatment,or a sex offender treatment program,or any combination thereofto the
         aftercare contractor during the period of community supervision, under Title 18 U.S.C. §3672. The
         defendant shall provide payment and proof of payment as directed by the Probation Officer. If the
         defendant has no ability to pay, no payment shall be required.

13.      The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
         drawings, videos, or video games,depicting or describing child pornography,as defined in Title 18 U.S.C.
         §2256(8), or sexually explicit conduct depicting minors, as defined at Title 18 U.S.C. §2256(2). The
         defendant shall not possess or view any materials such as videos,magazines,photographs,computer images
         or other matter that depicts "actual sexually explicit conduct" involving adults as defined by 18 U.S.C.
         §2257(h)(1). This condition does not prohibit the defendant from possessing materials solely because they
         are necessary to, and used for, a collateral attack, nor does it prohibit the defendant from possessing
         materials prepared and used for the purposes of the defendant's Court-mandated sex offender treatment,
         when the defendant's treatment provider or the probation officer has approved ofthe defendant's possession
         ofthe material in advance.

14.     The defendant shall not contact the victims by any means,including in person, by mail or electronic means,
        or via third parties. Further, the defendant shall remain at least 100 yards from the victims at all times. If
        any contact occurs, the defendant shall immediately leave the area of contact and report the contact to the
        Probation Officer.


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15.      The defendant shall not enter, or loiter, within 100 feet of school yards, parks, public swimming pools,
         playgrounds, youth centers, video arcade facilities, amusement and theme parks, or other places primarily
         used by persons under the age of 18, without the prior written authorization ofthe probation officer.

16.     The defendant shall not associate or have verbal, written,telephonic,or electronic communication with any
        person under the age of 18, except:(a)in the presence of the parent or legal guardian of said minor; and
       (b)on the condition that the defendant notify said parent or legal guardian ofthe defendant's conviction in
        the instant offense/prior offense. This provision does not encompass persons under the age of 18, such as
        waiters, cashiers, ticket vendors, etc., whom the defendant must interact with in order to obtain ordinary
        and usual commercial services.

17.      The defendant shall not affiliate with,own,control, volunteer or be employed in any capacity by a business
         or organization that causes the defendant to regularly contact persons under the age of 18.

18.      The defendant shall not affiliate with, own, control, or be employed in any capacity by a business whose
         principal product is the production or selling of materials depicting or describing "sexually explicit
         conduct," as defined at Title 18 U.S.C. § 2256(2).

19.      The defendant shall not own,use or have access to the services ofany commercial mail-receiving agency,
         nor shall defendant open or maintain a post office box, without the prior written approval ofthe Probation
         Officer.

20.      The defendant's employment shall be approved by the Probation Officer, and any change in employment
         must be pre-approved by the Probation Officer. The defendant shall submit the name and address of the
         proposed employer to the Probation Officer at least ten (10)days prior to any scheduled change.

21.      The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
         drawings, videos, or video games,depicting or describing child erotica, which is defined as a person under
         the age of 18 in partial or complete state of nudity, in sexually provocative poses, viewed for the purpose
         of sexual arousal.

22.     The defendant shall not reside within direct view of school yards, parks, public swimming pools,
        playgrounds, youth centers, video arcade facilities, or other places primarily used by persons under the age
        of 18. The defendant's residence shall be approved by the Probation Officer, and any change in residence
        must be pre-approved by the Probation Officer. The defendant shall submit the address of the proposed
        residence to the Probation Officer at least ten (10)days before any schedule move.

23.     The defendant shall submit the defendant's person, property, house,residence, vehicle, papers, computers,
        cell phones,other electronic communications or data storage devices or media,email accounts,social media
        accounts, cloud storage accounts, or other areas under the defendant's control, to a search conducted by
        a United States Probation Officer or law enforcement officer. Failure to submit to a search may be grounds
        for revocation. The defendant shall warn any other occupants that the premises maybe subject to searches
        pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable time and
        in a reasonable manner upon reasonable suspicion that the defendant has violated a condition of his

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        supervision                       Document
                    and that the areas to be searched67  Filedevidence
                                                     contain           of this
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24.     Failure to submit to a search may be grounds for revocation. The defendant shall warn any other occupants
        that the premises may be subject to searches pursuant to this condition. Any search pursuant to this
        condition will be conducted at a reasonable time and in a reasonable manner upon reasonable suspicion that
        the defendant has violated a condition of his supervision and that the areas to be searched contain evidence
        of this violation.

25.     The defendant shall possess and use only those computers and computer-related devices,screen usernames,
        passwords, email accounts, and Internet service providers (ISPs), social media accounts, messaging
        applications and cloud storage accounts, that have been disclosed to the Probation Officer upon
        commencement ofsupervision. Any changes or additions are to be disclosed to the Probation Officer prior
        to the first use. Computers and computer-related devices include personal computers, Internet appliances,
        electronic games,cellular telephones,digital storage media,and their peripheral equipment,that can access,
        or can be modified to access, the Internet, electronic bulletin boards, and other computers.

26.     All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be
        subject to search, seizure and computer monitoring. This shall not apply to items used at the employment
        site that are maintained and monitored by the employer.

27.     The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The
        defendant shall pay the cost of the Computer Monitoring Program, in an amount not to exceed $32 per
        month per device connected to the Internet.

The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information(excluding the
Presentence report),to State or local social service agencies(such as the State ofCalifornia,Department ofSocial
Service), for the purpose ofthe client's rehabilitation.

The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant
poses a low risk of future substance abuse.

Based on the Government's motion, any remaining counts are ordered dismissed.

The Bureau ofPrisons shall calculate the credits of time served by the defendant.

The defendant is advised ofthe right to appeal.




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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.                     n




                      o ~ 3 j~
           Date                                                               U. JS. Qistrict Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                              Clerk, U.S. District Court




                    0 3 2~                                          BY
           Filed Da e                                                         Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:

 1.   The defendant must not commit another federal, state, or local                 9.   The defendant must not knowingly associate with any persons engaged
      crime;                                                                              in criminal activity and must not knowingly associate with any person
 2.   The defendant must report to the probation office in the federal                    convicted ofa felony unless granted permission to do so by the probation
      judicial district of residence within 72 hours of imposition of a                   officer. This condition will not apply to intimate family members, unless
      sentence of probation or release from imprisonment, unless                          the court has completed an individualized review and has determined
      otherwise directed by the probation officer;                                        that the restriction is necessary for protection of the community or
 3.   The defendant must report to the probation office as instructed by                  rehabilitation;
      the court or probation officer;                                                10. The defendant must refrain from excessive use of alcohol and must not
 4.   The defendant must not knowingly leave the judicial district                        purchase, possess, use, distribute, or administer any narcotic or other
      without first receiving the permission of the court or probation                    controlled substance, or any pazaphernalia related to such substances,
      officer;                                                                            except as prescribed by a physician;
 5.   The defendant must answer truthfully the inquiries ofthe probation             1 1. The defendant must notify the probation officer within 72 hours ofbeing
      officer, unless legitimately asserting his or her Fifth Amendment                   arrested or questioned by a law enforcement officer;
      right against self-incrimination as to new criminal conduct;                   12. For felony cases, the defendant must not possess a firearm, ammunition,
 6.   The defendant must reside at a location approved by the probation                   destructive device, or any other dangerous weapon;
      officer and must notify the probation officer at least ]0 days before          l3. The defendant must not act or enter into any agreement with a law
      any anticipated change or within 72 hours of an unanticipated                       enforcement agency to act as an informant or source without the
      change in residence or persons living in defendant's residence;                     permission of the court;
 7.   The defendant must permit the probation officer to contact him or              14. As directed by the probation officer, the defendant must notify specific
      her at any time at home or elsewhere and must permit confiscation                   persons and organizations of specific risks posed by the defendant to
      ofany contraband prohibited by law or the terms ofsupervision and                   those persons and organizations and must permit the probation officer to
      observed in plain view by the probation officer;                                    confirm the defendant's compliance with such requirement and to make
 8.   The defendant must work at a lawful occupation unless excused by                    such notifications;
      the probation officer for schooling, training, or other acceptable             1 5. The defendant must follow the instructions of the probation officer to
      reasons and must notify the probation officer at least ten days                     implement the orders of the court, afford adequate deterrence from
      before any change in employment or within 72 hours of an                            criminal conduct, protectthepublic from furthercrimes ofthe defendant;
      unanticipated change;                                                               and provide the defendant with needed educational or vocational
                                                                                          training, medical care, or other correctional treatment in the most
                                                                                          effective manner.




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    ❑       The defendant must also comply with the following special conditions (set forth below).


          STATUTORY PROVISIONS PERTAINING TO PAYMENT AIYD COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date ofthe judgment under 18 U.S.C. § 36120(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          if all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney's Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant's mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(1)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant's economic circumstances that might affect the defendant's ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may,on its own motion or that ofa party or the victim, adjust
 the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

          Payments will be applied in the following order:

                    1. Special assessments under 18 U.S.C. § 3013;
                    2. Restitution, in this sequence(under 18 U.S.C. § 3664(1), all non-federal victims must be paid before the United
                      States is paid):
                              Non-federal victims (individual and corporate),
                             Providers of compensation to non-federal victims,
                              The United States as victim;
                    3. Fine;
                    4. Community restitution, under 18 U.S.C. § 3663(c); and
                    5. Other penalties and costs.

           CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer,the defendant must provide to the Probation Officer: (1)a signed release authorizing credit report
 inquiries;(2)federal and state income tax returns or a signed release authorizing their disclosure and(3)an accurate financial statement, with
 supporting documentation as to all assets, income and expenses ofthe defendant. In addition, the defendant must not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

          When supervision begins, and at any time thereafter upon request ofthe Probation Officer,the defendant must produce to the Probation
 and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business or trust
 accounts. Thereafter, for the term ofsupervision, the defendant must notify and receive approval ofthe Probation Office in advance ofopening
 a new account or modifying or closing an existing one,including adding or deleting signatories; changing the account number or name,address,
 or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the new account,
 modification or closing,the defendant must give the Probation Officer all related account records within 10 days ofopening, modifying or closing
 the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant's behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                               These conditions are in addition to any other conditions imposed by this judgment.




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                                                                    RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                    to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant's appeal determined on
 Defendant delivered on                                                                     to
      at
      the institution designated by the Bureau of Prisons, with a certified copy ofthe within Judgment and Commitment.

                                                                    United States Marshal




             Date                                                   Deputy Marshal




                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy ofthe original on file in my office, and in my
 legal custody.

                                                                    Clerk, U.S. District Court




             Filed Date                                             Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may(1)revoke supervision,(2)extend the term of
supervision, and/or(3) modify the conditions of supervision.

           These conditions have been read to me. [fully understand the conditions and have been provided a copy ofthem.


       (Signed)
               Defendant                                                           Date




                    U. S. Probation Officer/Designated Witness                     Date




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